                Case 3:14-cr-00164-L        Document 55         Filed 07/22/14      Page 1 of 1       PageID 86
                                       IN THE UNITED STATES DISTRICT COUR
                                       FOR THE NORTHERN DISTRICT OF TEXA
                                                 DALLAS DIVISION

UNITED STATES OF AMERICA                                    §

v.
                                                            §
                                                            §
                                                            §
                                                                                                                               I
ROBIN GAIL THORNTON (3)                                     §                                                                  I
                                          REPORT AND RECOMMENDATION
                                           CONCERNING PLEA OF GUILTY

         ROBIN GAIL THORNTON, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir.
1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) Three of the
Indictment After cautioning and examining ROBIN GAIL THORNTON under oath concerning each of the subjects
mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged
is supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that ROBIN GAIL THORNTON be adjudged guilty of 21 U.S.C. §
841(a)(l), Possession With Intent to Distribute a Mixture or Substance Containing a Detectable Amount of
Methamphetamine, a Schedule II Controlled Substance and have sentence imposed accordingly. After being found guilty
of the offense by the district judge,

0       The defendant is currently in custody and should be ordered to remain in custody.

~       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        £E::r      The Government does not oppose release.
        ~          The defendant has been compliant with the current conditions of release.
        D--        I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                   other person or the community if released and should therefore be released under § 3142(b) or (c).

         0         The Government opposes release.
        0          The defendant has not been compliant with the conditions of release.
        0          If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                   Government.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under § 3145( c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
        evidence that the defendant is not likely to flee or pose a danger to any other person or the community if released.



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Date:   22nd day of July, 2014


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Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States District
Judge. 28 U.S.C. §636(b)(l)(B).
